                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   WESTERN DIVISION

                                                      )
IN RE:                                                )
                                                      )        Case No. 19-70152-JHH
SOUTHFRESH AQUACULTURE, LLC,                          )
                                                      )        Chapter 11
         Debtor.                                      )

                           NOTICE OF AMENDED SCHEDULE E/F AND
                            SUMMARY OF ASSETS AND LIABILITIES

         SouthFresh Aquaculture, LLC, as debtor and debtor-in-possession (the “Debtor”), by and

through undersigned counsel, hereby files a true and correct copy of the Debtor’s amended

Schedule E/F (the “Amended Schedule E/F”) (Doc. 111) in the above-captioned bankruptcy

case. The Amended Schedule E/F amends the original Schedule E/F (the “Original Schedule

E/F”) (Doc. 88) to include any parties holding pre-petition claims that were paid post-petition

pursuant to any of the following Court’s Orders1:

         1.       Order (i) Authorizing the Debtor to (a) Pay Pre-Petition Wages, Salaries, Other
                  Compensation, and Reimbursable Expenses and (b) Continue Employee Benefits
                  Programs, and (ii) Granting Related Relief (Doc. 28);

         2.       Order (i) Authorizing the Payment of Critical Vendor Claims, and (ii) Granting
                  Related Relief (Doc. 29);

         3.       Order (i) Authorizing the Payment of Certain Pre-Petition Taxes, Regulatory and
                  Other Fees and (ii) Granting Related Relief (Doc. 32);

         4.       Order Authorizing the Debtor to (i) Continue Insurance Coverage Entered Into
                  Pre-Petition and Satisfy Pre-Petition Obligations Related Thereto, (ii) Renew,
                  Amend, Supplement, Extent, or Purchase Insurance Policies, (iii) Continue Its
                  Surety Bond Program, and (iv) Granting Related Relief (Doc. 33);

         5.       Order (i) Approving the Debtor’s Proposed Adequate Assurance of Payment for
                  Future Utility Services, (ii) Approving the Proposed Adequate Assurance

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  While the Amended Schedule E/F contains, to the best of the Debtor’s knowledge, a list of all known parties
holding pre-petition claims, due to the nature of the Debtor’s business there remains a possibility that some parties
holding pre-petition claims have been inadvertently omitted from the Amended Schedule E/F. The Debtor retains
the right to further amend Schedule E/F to the extent the Debtor becomes aware of any omitted parties.


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                Procedures, (iii) Prohibiting Utility Companies From Altering, Refusing, or
                Discontinuing Services, and (iv) Granting Related Relief (Doc. 80); and

         6.     Order (i) Authorizing the Payment of Critical Vendor Claims, and (ii) Granting
                Related Relief (Doc. 81).

         The Debtor’s original Summary of Assets and Liabilities (Doc. 88), including the

Original Schedule E/F, along with the original Statement of Financial Affairs (Doc. 89) and the

amended Statement of Financial Affairs (Doc. 90) have previously been filed with the Court. To

the extent any party receiving this Notice desires a copy of these documents, please contact the

undersigned via electronic mail at wbulgarella@maynardcooper.com or by telephone at (205)

254-1875.

         A copy of this Notice is being sent to the creditor matrix currently on file with the Court.

The Debtor will file a separate Certificate of Service to evidence service of this Notice on the

creditor matrix.

         Respectfully submitted this the 1st day of March, 2019.

                                                              /s/ Wes Bulgarella
                                                              J. Leland Murphree
                                                              Jayna P. Lamar
                                                              Ryan D. Thompson
                                                              Evan N. Parrott
                                                              Wes Bulgarella

                                                              Proposed Counsel to the Debtor


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